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                                            EXHIBIT A

                                          Proposed Order




{ I 368.002-W00(rt1969. )
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                          IN THE UNITED STATBS BANKRUPTCY COURT
                               FOR THB DISTRICT OF DELAWARE
In re

ALAMEDA RESEARCH LLC,                                       Chapter 11

                                                            Case No. 22-11066 (JTD)

                                    Debtor
                                                      X
In re

ALAMEDA RESEARCH LTD,                                       Chapter 11

                                                            Case No. 22-1106l (JTD)

                                    Debtor
                                                     X

In re

FTX TRADING LTD.,
                                                            Chapter 11

                                                            Case No. 22-11068 (JTD)
                                    Debtor
                                                     X
In re

ALAMEDA RESEARCH HOLDINGS INC.,                             Chapter 1l

                                                            Case No. 22-11069 (JTD)

                                    Debtor
                                                     X

In re

CLIFTON BAY INVESTMENTS LLC                                 Chapter 11

                                                            Case No. 22-II0l0 (JTD)

                                    Debtor
                                                     X




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In re

WEST REALM SI{IRE,S SERVICES INC.,                               Chapter l1

                                                                 Case No. 22-II07I (JTD)

                                    Debtor
                                                           X
In re

WEST REALM SHIRES FINANCIAL SERVICES                             Chapter 11
INC.,
                                                                 Case No. 22-11012 (JTD)

                                    Debtor'
                                                           X

In re

LEDGER HOLDINGS INC.,                                            Chapter 11

                                                                 Case No. 22-11073 (JTD)

                                    Debtor
                                                           X
In re

FTX JAPAN HOLDINGS K.K.,                                         Chapter 1i

                                                                 Case No. 22-11074 (JTD)

                                    Debtor
                                                           X

In re

FTX EUROPE AG,                                                   Chapter' 11

                                                                 Case No. 22-11075 (JTD)

                                    Debtor
                                                           X




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In re

FTX PROPERTY HOLDINGS LTD,                                      Chapter 11

                                                                Case No. 22-11076 (JTD)

                                    Debtor
                                                          X
In re

LT BASKETS LTD..                                                Chapter 11

                                                                Case No. 22-ll0l7 (JTD)

                                    Debtor
                                                          X

In re

ALAMEDA TR LTD,                                                 Chapter 11

                                                                Case No. 22-11078 (JTD)

                                    Debtor
                                                          X
In re

ALLSTON WAY LTD.                                                Chapter 11

                                                                Case No. 22-11079 (JTD)

                                    Debtor
                                                          X
In re

ANALISYA PTE LTD,                                               Chapter 11

                                                                Case No. 22-11080 (JTD)

                                    Debtor
                                                          X




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In re

ATLANTIS TECHNOLOGY LTD.,                                    Chapter 11

                                                             Case No. 22-11081(JTD)

                                   Debtor
                                                       X
In re

BANCROFT WAY LTD,                                            Chapter 11

                                                             Case No. 22-11082 (JTD)

                                   Debtor
                                                       X

In re

BLUE RIDGE LTD.                                              Chapter 11

                                                             Case No. 22-11083 (JTD)

                                   Debtor
                                                       X
In re

CARDINAL VENTURES LTD,                                       Chapter l1

                                                             Case No. 22-11084 (JTD)

                                   Debtor
                                                       X
In re

CEDAR BAY LTD.                                               Chapter l1

                                                             Case No. 22-11085 (.lTD)

                                   Debtor
                                                       X




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In re

LIQUID SECURITIES SINGAPORE PTE LTD,                        Chapter l1

                                                            Case No. 22-11086 (JTD)

                                   Debtor
                                                      X

In re

MACLAURIN INVESTMENTS LTD.,                                 Chapter 11

                                                            Case No. 22-11087 (JTD)

                                   Debtor
                                                      X
In re

MANGROVE CAY LTD,                                           Chapter I I

                                                            Case No. 22-11088 (JTD)

                                   Debtor
                                                      X
In re

PAPER BIRD INC,                                             Chapter 11

                                                            Case No. 22-11089 (JTD)

                                   Debtor
                                                     X
In re

PIONEER STREET INC.,                                        Chapter I I

                                                            Case No. 22-11090 (JTD)

                                   Debtor
                                                     X




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In re

QUOINE INDIA PTE LTD,                                           Chapter 11

                                                                Case No. 22-11091(JTD)

                                   Debtor
                                                          X
In re

QUOINE VIETNAM CO. LTD,                                         Chapter 11

                                                                Case No. 22-11092 (JTD)

                                   Debtor
                                                          X

In re

SNG INVESTMENTS YATIRIM VE                                      Chapter 11
DANr$MANLTK ANONiM $i RKE',t'j.
                                                                Case No. 22-11093 (JTD)

                                   Debtor
                                                          X
In re

STRATEGY ARK COLLECTIVE LTD..                                   Chapter 11

                                                                Case No. 22-11094 (JTD)

                                   Debtor
                                                          X
In re

TECI{NOLOGY SERVICES BAHAMAS LIMITED, :                         Chapter 11

                                                                Case No. 22-11095 (JTD)

                                   Debtor
                                                         X




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In re

VERDANT CANYON CAPITAL LLC.                                       Chapter 11

                                                                  Case No. 22-11096 (JTD)

                                         Debtor
                                                           X
In re

WEST INNOVATIVE BARISTA LTD.,                                     Chapter 11

                                                                  Case No. 22-11097 (JTD)

                                         Debtor
                                                           X
In re

WESTERN CONCORD ENTERPRISES LTD.,                                 Chapter' 11

                                                                  Case No. 22-11098 (JTD)

                                         Debtor
                                                           X
In re

FTX EQTJITY RECORD HOLDINGS LTD,                                  Chapter 11

                                                                  Case No. 22-11099 (JTD)

                                         Debtor
                                                           X
In re

FTX EXCHANGE FZE.                                                 Chapter 11

                                                                  Case No. 22-lll00 (JTD)

                                         Debtor
                                                           X




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In re

FTX HONG KONG LTD,                                             Chapter 11

                                                               Case No. 22-11101 (JTD)

                                     Debtor
                                                         X
In re

FTX JAPAN K.K.,                                                Chapter 11

                                                               Case No. 22-11102 (JTD)

                                     Debtor
                                                        X
In re

F-TX JAPAN SERVICES KK,                                        Chapter 11

                                                               Case No. 22-11103 (JTD)

                                     Debtor
                                                        X
In re

ALAMEDA AUS PTY LTD,                                           Chapter 11

                                                               Case No. 22-11104 (JTD)

                                     Debtor
                                                        X
In re

ALAMEDA RESEARCH (BAI{AMAS) LTD,                               Chapter 11

                                                               Case No. 22-11105 (JTD)

                                     Debtor
                                                        X




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In re

ALAMEDA RESEARCH KK,                                             Chapter 11

                                                                 Case No. 22-11106 (JTD)

                                       Debtor
                                                          X
In re

ALAMEDA RESEARCH PTE LTD.                                        Chapter 11

                                                                 Case No. 22-11107 (JTD)

                                       Debtor
                                                          X
In re

ALAMEDA RESEARCH YANKARI LTD,                                    Chapter 11

                                                                 Case No. 22-11108 (JTD)

                                       Debtor
                                                          X
In re

ALAMEDA TR SYSTEMS S. DE R. L                                    Chapter 11

                                                                 Case No. 22-11109 (JTD)

                                       Debtor
                                                          X
In re

BLOCKFOLIO, INC.,                                               Chapter 11

                                                                Case No. 22-11110 (.rTD)

                                   Debtor
                                                          X




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In re

CLIFTON BAY INVESTMENTS LTD,                                   Chapter l1

                                                               Case No. 22-1\111 (JTD)

                                      Debtor
                                                        X
In re

COTTONWOOD GROVE LTD,                                          Chapter l1

                                                               Case No. 22-11112 (JTD)

                                      Debtor.
                                                        X
In re

CRYPTO BAHAMAS LLC.                                            Chapter 1l

                                                               Case No. 22-1111 3 (JTD)

                                      Debtor
                                                        X
In re

DEEP CREEK LTD,                                                Chapter 11

                                                               Case No. 22-11114 (JTD)

                                      Debtor
                                                        X
In re

DIGITAL CUSTODY INC..                                          Chapter 1l

                                                               Case No. 22-11115 (JTD)

                                      Debtor
                                                        X




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In re

FTX (GIBRALTAR) LTD,                                          Cliapter i 1

                                                              Case No. 22-11116 (JTD)

                                       Debtor
                                                       X

In re

FTX CANADA INC,                                               Chapter 11

                                                              Case No. 22-11117 (JTD)

                                       Debtor
                                                       X
In re

FTX DIGITAL HOLDINGS (SINGAPORE) PTE                          Chapter l1
LTD,
                                                              Case No. 22-11118 (JTD)

                                       Debtor
                                                       X
In re

FTX PRODUCTS (STNGAPORE) PTE LTD.                             Chapter 1l

                                                              Case No. 22-11119 (JTD)

                                       Debtor
                                                       X
In re

FTX SERVICES SOLUTIONS LTD..                                  Chapter 11

                                                              Case No. 22-11120 (JTD)

                                       Debtor
                                                       X




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In re

FTX STRUCTURED PRODUCTS AG.                                          Chapter 11

                                                                     Case No. 22-IlI22 (ITD)

                                          Debtor
                                                              X
In re

FTX TRADING GMBI_I.                                                  Chapter 11

                                                                     Case No. 22-1\123 (JTD)

                                          Debtor
                                                              X
In re

FTX ZUMA LTD,                                                        Chapter 1l

                                                                     Case No. 22-IlI24 (ITD)

                                          Debtor
                                                              X
In re

GLOBAL COMPASS DYNAMICS LTD..                                        Chaptel 11

                                                                    Case No. 22-11125 (JTD)

                                          Debtor
                                                              X
In re

GOODMAN INVESTMENTS LTD..                                           Chapter 11

                                                                    Case No. 22-11126 (JTD)

                                      Debtor
                                                              X




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In re

HAWAII DIGITAL ASSETS iNC.,                                   Chapter 11

                                                              Case No. 22-lll27 (JTD)

                                      Debtor
                                                       X
In re

INNOVATiA LTD,                                                Chapter 11

                                                              Case No. 22-11128 (JTD)

                                      Debtor
                                                       X
ln re

ISLAND BAY VENTURES INC.                                      Chapter 1l

                                                              Case No. 22-11129 (.fTD)

                                      Debtor
                                                       X
In re

KILLARNEY LAKE INVESTMENTS LTD,                               Chapter 11

                                                              Case No. 22-11131 (JTD)

                                      Debtor
                                                       X
In re

ZUBR EXCHANGE LTD,                                            Cliapter 11

                                                              Case No. 22-ll132 (JTD)

                                      Debtor
                                                       X




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In re

ALAMEDA GLOBAL SERVICES LTD.,                                 Chapter 11

                                                              Case No. 22-11134 (JTD)

                                       Debtor
                                                       X
In re

COTTONV/OOD TECHNOLOGIES LTD.,                                Chapter 11

                                                              Case No. 22-11136 (JTD)

                                       Debtor
                                                       X
In re

DECI( TECHNOLOGIES HOLDINGS LLC,                              Chapter 11

                                                              Case No. 22-If 138 (JTD)

                                       Debtor
                                                       X
In re

DECK TECHNOLOGIES INC.,                                       Chapter l1

                                                              Case No. 22-11139 (JTD)

                                       Debtor
                                                       X
In re

EUCLID WAY LTD,                                               Chapter 11

                                                              Case No. 22-11141 (JTD)

                                       Debtor
                                                       X




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In re

FTX DIGITAL ASSETS LLC,                                          Chapter 11

                                                                 Case No. 22-11143 (JTD)

                                        Debtor
                                                          X

In re

FTX EMEA LTD.,                                                   Chapter 11

                                                                 Case No. 22-11145 (JTD)

                                        Debtor
                                                          X
In re

FTX US TRADING, [NIC.,                                           Chapter 11

                                                                 Case No. 22-11149 (JTD)

                                        Debtor'
                                                          x
In re

FIIVE EMPIRE TRADING PTY LTD,                                    Chapter 11

                                                                 Case No. 22-11150 (JTD)

                                        l)ebtor
                                                          X
In re

LIQUID FINANCIAL USA INC.,                                       Chapter 11

                                                                 Case No. 22-11151 (JTD)

                                        Debtor
                                                          X




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In re

LIQUIDEX LLC,                                                 Chapter 11

                                                              Case No. 22-11152 (JTD)

                                       Debtor
                                                       X

In re

NORTI_I DIMENSION INC,                                        Chapter 11

                                                              Case No. 22-11153 (JTD)

                                       Debtor
                                                       X
In re

NORTFI WIRELESS DIMENSION INC,                                Chapter 1l

                                                              Case No. 22-11154 (JTD)

                                       Debtor
                                                       X
In re

LEDGERPRIME BITCOIN YIELD                                     Chapter 11
ENI-IANCEMENT MASTER FUND LP,
                                                              Case No. 22-11155 (JTD)

                                       Debtor
                                                       X
In re

LEDGERPRIME DIGITAL ASSET                                     Chapter 11
OPPORTUNITIES FUND, LLC,
                                                              Case No. 22-lI156 (JTD)

                                       Debtor
                                                       X




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In re

LE,DGERPRIME DIGITAL ASSET                                      Chapter 11
OPPORTT]NITIES MASTER FLIND LP,
                                                                Case No. 22-11157 (JTD)

                                        Debtor
                                                         X
In re

LEDGER PRIME LLC,                                               Chapter 11

                                                                Case No. 22-ll158 (JTD)

                                        Debtor
                                                         X
In re

LEDGERPzuME VENTURES, LP,                                       Chapter' 11

                                                                Case No. 22-11159 (JTD)

                                        Debtor
                                                         X
In re

NORTH DIMENSION LTD,                                            Chapter 11

                                                                Case No. 22-11160 (JTD)

                                        Debtor
                                                         X
In re

QUOINE PTE LTD,                                                 Chapter l1

                                                                Case No. 22-11161 (JTD)

                                        Debtor
                                                         X




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In re

CEDAR GROVE TECHNOLOGY SERVICES, LTD, :                          Chapter 11

                                                                 Case No. 22-11162 (JTD)

                                        Debtor
                                                          X
In re

DAAG TRADING, DMCC,                                              Chapter 11

                                                                 Case No. 22-11163 (JTD)

                                        Debtor
                                                          X
In re

FTX CERTIFICATES GMBH.                                           Chapter 11

                                                                 Case No. 22-11164 (JTD)

                                        Debtor
                                                          X
In re

FTX CRYPTO SERVICES LTD..                                        Chapter 11

                                                                 Case No. 22-11165 (JTD)

                                        Debtor
                                                          X
In re

FTX EU LTD.,                                                     Chapter 11

                                                                 Case No, 22-11166 (JTD)

                                        Debtor'
                                                          X




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In re

FTX LEND INC.,                                                 Chapter 11

                                                               Case No. 22-11167 (JTD)

                                       Debtor
                                                        X
In re

FTX MARKETPLACE, INC.,                                         Chapter 11

                                                               Case No. 22-IIl68 (JTD)

                                       Debtor
                                                        X
In re

F'TX SWITZERLAND GMBH,                                         Chapter 11

                                                               Case No. 22-lIl69 (JTD)

                                       Debtor
                                                        X
In re

FTX TURKEY TEKNOLO.Ti VE TICARET                               Chapter 11
ANONÌM $ÌRKET,
                                                               Case No. 22-11170 (JTD)

                                       Debtor'
                                                        X
In re

FTX US SERVICES, INC.,                                         Chapter 11

                                                               Case No. 22-11171 (JTD)

                                       Debtor
                                                        X




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In re

FTX VENTURES LTD,                                             Chapter l1

                                                              Case No. 22-1lll2 (ITD)

                                       Debtor
                                                       X
In re

GG TRADING TERMINAL LTD,                                      Chapter 11

                                                              Case No. 22-11173 (JTD)

                                       Debtor
                                                       X
In le

GOOD LUCK GAMES, LLC,                                         Chapter 11

                                                              Case No. 22-11174 (JTD)

                                       Debtor
                                                       X
In re

HANNAM GROUP INC,                                             Chapter 11

                                                              Case No. 22-11175 (JTD)

                                       Debtor
                                                       X
In re

I{ILLTOP TECHNOLOGY SERVICES LLC,                             Chapter 11

                                                              Case No. 22-11176 (.rTD)

                                       Debtor
                                                       X




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In re

LEDGERPRIME BITCOIN YIELD                                                   Chapter 11
ENHANCEMENT FUND, LLC,
                                                                            Case No. 22-11T77 (JTD)

                                            Debtor
                                                                   X
In re

V/EST REALM SHIRES INC.,                                                    Chapter 11

                                                                            Case No. 22-11183 (JTD)

                                            Debtor.
                                                                   X


        ORDER (I) AUTHORIZING JOINT ADMINISTRATION OF THE DEBTORS'
         CHAPTER 11 CASES AND IIII GRA   G CERTAIN RELATED RELIEF

                   Upon the motion (the "Motion")r of FTX Trading Ltd. and its affiliated debtors

and debtors-in-possession (collectively, the "Debtors"), for entry of an order (this "Order")

(a) authorizing joint administration of the Debtors' Chapter 11 Cases and the consolidation

thereof for procedural purposes only and (b) granting certain related relief; this Court having

jurisdiction to consider the Motion pursuant to 28 U.S.C. 8e 157 and 1334 and the Amended

Standing Order of Reference from the United States District Court for the District of Delaware,

dated February 29,2012; and this Court being able to issue a final order consistent with Article

III of the United States Constitution; and venue of these Chapter 11 Cases and the Motion in this

district being proper pursuant to 28 U.S.C. $6 1408 and 1409; and this matter being a core

proceeding pursuant to 28 U.S.C. $ 157(b); and this Court having found that proper and adequate

notice of the Motion and the relief requested therein has been provided in accordance with the

Bankruptcy Rules and the Local Rules, and that, except as otherwise ordered herein, no other or



1     Capitalized terms not otherwise defined herein are to be given the meanings ascribed to them in the Motion

{   r36s.oo2-woo6se6e.}                                 -21-
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 further notice is necessary; and objections (if any) to the Motion having been withdrawn,

resolved or overruled on the merits; and a hearing having been held to consider the relief

requested in the Motion and upon the record of the hearing and all of the proceedings had before

this Court; and this Court having found and determined that the relief sought in the Motion is in

the best interests of the Debtors, their estates, their creditors and all other parties-in-interest; and

that the legal and factual bases set forth in the Motion establish just cause for the relief granted

herein; and after due deliberation and sufficient cause appearing therefor.;

                       IT IS HEREBY ORDERED THAT:

                       l.     The Motion is GRANTED as set forth herein.

                       2.     Pursuant to section 105(a) of the Bankruptcy Code, Bankruptcy Rule

1015(b) and Local Rule 1015-1, the above-captioned Chapter 11 Cases are consolidated for

procedural purposes only and shall be jointly administered by this Court as Case No. 22-1 1068

(JrD).

                       3.     The consolidated caption of the jointly administered cases shall read as

follows:

                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

In re                                                               Chapter 1l

FTX TRADING LTD., et al.,t                                         Case No. 22-11068 (JTD)

           Debtors                                                 (Jointly Administered)




     ThelastfourdigitsofF-TXTladingLtd.'staxidentificationnumberare32SS.                 Duetothelargenumbelol'
     debtor entities in these Chapter' 11 Cases, a cornplete list of the Debtors and the last four digits ol'their
     federal tax identification nrtnrbers is ttot provided herein. A cornplete Iist of such information rray be
     obtained on the website of the Debtors'proposed clairns and noticing agent at [.].




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                      4.      The foregoing caption satisfies the requirements set forth in section

3a2@)Q) of the Bankruptcy Code and Bankruptcy Rules 1005 and 2002(n), or such requirernents

are hereby otherwise waived.

                      5.     A docket entry shall be made in each of the Debtors' Chapter 11 Cases,

othel than the docket maintained for the chapter 1 1 case of FTX Trading Ltd.. substantially as

follows:

                      An order has been entered in this case under rule 1015(b) of the
                      Federal Rules of Bankruptcy Procedure directing the procedural
                      consolidation and joint administration of the chapter 1 1 cases of FTX
                      Trading Ltd. and its affiliated debtors. All further pleadings and
                      other papers shall be filed in, and all further docket entries shall be
                      made in, the docket of FTX Trading Ltd., Case No. 22-11068 (JTD)
                      and such docket should be consulted for all matters affecting this
                      chapter' 11 case.

                      6.     One consolidated docket, one file and one consolidated service list shall be

maintained by FTX Trading Ltd. and kept by the clerk of the Court with the assistance of the

notice and claims agent retained by the Debtors in these Chapter 1l Cases.

                      7.     Nothing contained in the Motion or this Order shall be deemed or

coustrued as directing or otherwise effecting a substantive consolidation of these Chapter 1 1

Cases.

                      8.     The Debtors are authorized and empowered to execute and deliver such

documetrts, and to take and perforrn all actions necessary to implernent and effectuate the relief

granted in this Order.




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                     9.   This Court shall retain jurisdiction with respect to any matters, claims,

rights or disputes arising from or related to the Motion or the implementation of this Order.

Dated:November ,2022
          Wilmington, Delaware                          The Honorable.Iohn T. Dorsey
                                                        United States Bankruptcy Judge




{ 1368.002-W0068969. }
